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A091 (Rev. 11/11) Criminal Canplainl


                                    UNITED STATES DISTRICT COURT
                                                               for the                                           FILED
                                              Northern District of Ohio                                 5:13 pm Jul 19 2019
                                                                                                       Clerk U.S. District Court
                  United States of America                        )                                    Northern District of Ohio
                             v.                                   )                                           Cleveland
                                                                  )       Case No. 1:1Qnj3192
                          ELI TAIEB                               )
                                                                  )
                                                                  )
                                                                  )
                         Defendant($)


                                                CRIMINAL COMPLAINT
       I. the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of    July 2, 2019 thru July 19, 2019        in the county of          Cuyahoga                 in the
     Northern         District of      Ohio, and elsewhere    • the defcndant(s) violated:
            Code Section                                                   Offense Description

18 U.S.C., Section 1349                        Conspiracy to Comm it Securities Fraud
18 U.S.C., Section 1348                        Securities Fraud
18 U.S.C., Section 1343                        Wire Fraud




         This criminal complaint is based on these facts:
See attached affidavit. which is incorpcrated herein by reference




         Pi Continued on the attached sheet

                                                                                             ComJt;inant 's signature

                                                                                   nthony Fry, Special Agent
                                                                                 -�
                                                                                              Prin�d namt and titIt

Sworn to via telephone after submission by reliable
electronic means. Fed. R. Crim. P. 4.1 and 41(d)(3).

Date: 5:07 PM, Jul 19, 2019

City and state:                        Cleveland. Ohio                         Thomas M Parker, U.S. Magustrate Judge
                                                                                             Printtd namt and ti/It
